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 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,      )         CASE NO. 1:07-cr-00269-AWI
                                    )
11               Plaintiff,         )         STIPULATION TO CONTINUE STATUS
                                    )         CONFERENCE AND ORDER
12        v.                        )
                                    )
13   SERGIO SANTACRUZ,              )
                                    )         DATE: April 23, 2012
14               Defendant.         )         TIME: 10:00 a.m.
                                    )         PLACE: Courtroom Two
15                                  )         Hon. Anthony W. Ishii
     ______________________________ )
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17        IT IS HEREBY STIPULATED by and between the parties through

18   their respective counsel, that the current status conference set

19   for March 5, 2012, at 10:00 a.m., be continued to April 23, 2012,

20   at 1:00 p.m., before the Honorable Anthony W. Ishii, United States

21   District Judge.

22        The parties further stipulate and agree that the time between

23   March 5, 2012, and April 23, 2012 be excluded from the calculation

24   of time under the Speedy Trial Act.       The parties stipulate that

25   the ends of justice are served by the Court excluding such time,

26   so that counsel for the defendant may have time necessary for

27   effective preparation, taking into account the exercise of due

28   diligence.   18 U.S.C. §§ 3161(h)(7)(B)(iv).        Specifically, an

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 1   offer has been extended in this matter however defense counsel has

 2   not had an opportunity to meet with the defendant.             The defendant

 3   is housed in the Lerdo facility located in Kern County and

 4   interviews need to be scheduled at least one (1) week in advance.

 5   Defense counsel was not able to schedule an interview at the Lerdo

 6   facility prior to the hearing scheduled for March 5, 2012 due to

 7   defense counsel’s calendar.         Since the last hearing in this

 8   matter, defense counsel has been in court for numerous hearings on

 9   a capital homicide matter as well as other matters that required

10   his presence.      The parties stipulate and agree that the ends of

11   justice served by granting this continuance outweigh the best

12   interests of the public and the defendant in a speedy trial.            18

13   U.S.C. §§ 3161(h)(7)(A).

14   DATED: March 1, 2012                        BENJAMIN B. WAGNER
                                                 United States Attorney
15

16                                               By /s/Laurel J. Montoya
                                                   LAUREL J. MONTOYA
17                                               Assistant U.S. Attorney

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19   DATED: March 1, 2012                        /s/ Richard Beshwate, Jr.
                                                 RICHARD BESHWATE, JR.
20                                               Attorney for Defendant

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 1                                      ORDER

 2        IT IS HEREBY ORDERED, that the Status Conference hearing

 3   of March 5, 2012, at 10:00 a.m. be continued to April 23, 2012, at

 4   10:00 a.m.   Time shall be excluded to and through that date.       For

 5   the reasons set forth above, the continuance requested is granted

 6   for good cause and the Court finds the ends of justice outweigh

 7   the interests of the public and the defendant in a speedy trial.

 8   IT IS SO ORDERED.
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     Dated:       March 1, 2012
10   0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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